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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

WILLIAM TAYLOR,                                             §
                                                            §
            Plaintiff,                                      §        Civil Action No. 4:19-cv-03621
                                                            §
v.                                                          §
                                                            §
U.S. BANK NATIONAL ASSOCIATION,                             §
AS TRUSTEE, SUCCESSOR IN                                    §
INTEREST TO BANK OF AMERICA,                                §
NATIONAL ASSOCIATION, AS                                    §
TRUSTEE, SUCCESSOR BY MERGER                                §
TO LASALLE NATIONAL BANK, AS                                §
TRUSTEE FOR BCF L.L.C. MORTGAGE                             §
PASS-THROUGH CERTIFICATES,                                  §
SERIES 1997-R3,                                             §
                                                            §
            Defendants.                                     §


                     JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
                             PURSUANT TO F.R.C.P. 41(a)(1)(A)(ii)

             NOW COME William Taylor (“Plaintiff”) and U.S. Bank National Association, as

     Trustee, Successor in Interest to Bank of America, National Association, Successor by Merger to

     LaSalle National Bank, as Trustee for BCF L.L.C. Mortgage Pass-Through Certificates, Series

     1997-R3 (“Defendant”) (collectively with Plaintiff, the “Parties”), and hereby file this their Joint

     Stipulation of Dismissal With Prejudice Pursuant to F.R.C.P. 41(a)(1)(A)(ii), and in support

     thereof would respectfully show unto the Court the following:

             1.      The parties have fully compromised and settled all matters in controversy between

     them, and have reached an agreement to dismiss the above civil case, with prejudice, pursuant to

     F.R.C.P. 41(a)(1)(A)(ii), including all claims, defenses and counterclaims filed by any party.

             2.      The parties also agree that all costs of court and attorney’s fees incurred shall be


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borne by the party incurring the same.

        WHEREFORE, Plaintiff and Defendant hereby jointly request that the Court enter an Order

dismissing the above civil case, with prejudice, and for such other and further relief to which the

parties may be justly entitled.

                                                Respectfully submitted,


                                                /s/ John G. Helstowski
                                                John G. Helstowski
                                                Texas State Bar No. 24078653
                                                S.D. Bar No. 2799780
                                                J. GANNON HELSTOWSKI LAW FIRM
                                                13601 Preston Road, Suite E920
                                                Dallas, Texas 75240
                                                Telephone (817) 382-3125
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                                                Lead Attorney for Plaintiff

                                                AND


                                                /s/ Matthew l. McDougal (with permission)      __
                                                 Robert T. Mowery
                                                 Texas State Bar No. 14607500
                                                 S.D. Bar No. 9529
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                                                 Texas State Bar No. 24092799
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                                                 2200 Ross Avenue, Suite 2800
                                                 Dallas, Texas 75201
                                                 Telephone: (214) 740-8000
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                                                 Attorneys for Defendant U.S. Bank, etc.



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                               CERTIFICATE OF CONFERENCE

       I hereby certify that on November 21, 2019, I personally conferred by email with Matthew
L. McDougal, attorney of record for Defendant U.S. Bank, etc., and counsel advised that he is in
agreement with the foregoing Joint Stipulation of Dismissal With Prejudice Pursuant to F.R.C.P.
41(a)(1)(A)(ii), and by his electronic signature affixed hereto is unopposed to the same.


                                                /s/ John G. Helstowski
                                                John G. Helstowski


                                   CERTIFICATE OF SERVICE

        I hereby certify that on November 21, 2019, a true and correct copy of the foregoing Joint
Stipulation of Dismissal With Prejudice Pursuant to F.R.C.P. 41(a)(1)(A)(ii) was filed and served
upon all parties and counsel of record via the Court’s ECF system.



                                                /s/ John G. Helstowski
                                                John G. Helstowski




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